Case 1:17-cv-24624-MGC Document 5 Entered on FLSD Docket 12/20/2017 Page 1 of 2

                                            Sealed                         FILED by        D.C.
                           U N IT ED STATE S D ISTRICT CO U R T
                           SO U TH ER N I(AISTR ICT O F FLO R IDA           pEc 2 g 2gj?         '
                                                                            STEVEN M LARIMORE
                                                                            c    Ku.è.DIs'r.cT
                                         cxssxo.,: v . z4 6                      ofFLA.-MI
                                                                                         AMI
   SEC UR ITIES A N D EX CH AN G E C OM M ISSIO N ,                    '   * '



                                     Plaintiff,
                                                                       Clk:20042y

   R O BER T H .SH A PIR O ,
   W O O DB RIDG E GR O UP O F C O M PAN IES,LLC ,                   )
   d/b/a W O O DBR ID G E W EA LTH ,                                 )
   R S PR O TECTIO N TR UST,                                         )
   WMF   MANAGEMENV LLC,                                             )
   W O O D BRID G E STR U CTU R ED FU ND IN G ,LLC ,                 )
   W O O D BRID G E M O R TG A G E IN VESTM ENT FUN D 1,L LC,        )UNDER SEAL
   W O O D BRID G E M O R TG A G E IN VESTM EN T FUN D 2,L LC ,
   W O O D BR ID G E M O R TG A G E IN VE STM EN T FU ND 3,LLC,
   W O O D BR ID G E M O RTG A G E IN VE STM EN T FUN D 3A ,LL C ,
   W O O DBR ID G E M O R TG A G E IN V ESTM EN T FU ND 4,LLC ,
   W O O DBR ID G E C O M M ER CIAL BR IDG E L OA N FUN D 1,LLC ,
                                           (
   W O O D BRIDG E CO M M ER CIA L BRIDG E L O AN FU N D 2,LL C,
   144 W O O DBR ID G E-A FFILIA TED PR O PER TY LIM ITED
   LIA BILITY CO M PAN IES
    131WOODBRIDGE-AFFIIIATEDHIILDING
    LIM ITED LIA BIL ITY C O M PA N IE S,


                                     D efendants,and

    JER I SH A PIRO ,
    W O O DBR ID G E R EA LTY O F C O LO R AD O ,LLC
    d/b/a W O O D BR ID G E REA LTY UN LIM ITED
    WOODBRIDGELUXURYHOMESOFCALIV RNIA,INC.,
    d/b/a M ERC ER V IN E ,lN C .,
    R IV ER DA LE FU N DIN G LLC
    ScHWARTZMEDIABJYINZCOMPANY,LLC,
    w FS H O LD IN G C O .,LL C,

                                     ReliefD efendants.


      EM ER G EN CY EX PAR TE M O T IO N FO R A SSET FR EEZE AN D O TH ER RELIEF
Case 1:17-cv-24624-MGC Document 5 Entered on FLSD Docket 12/20/2017 Page 2 of 2



         PlaintiffSecurities and Exchange Com m ission m ovesthe Courtexparte fbr:

         a.     freezing tem poralily and,after a hearing,forthe duration of this litigation,the
                assets of D efendants Shapiro, RS Trust, 13 N on-Bankruptcy Filer W oodbridge
                Affiliated Property Holding Limited Liability Companies (ttNon-Filer Shapiro
                Property LLCs'') and 10 Non-Bankruptey FilerW oodbridge-Aftèliated Holding
                LimitedLiabilityCompanies(ûiNon-FilerShapiroHoldingLLCs'');
                 requiring DefendantsShapiro and RS Trustto provideaswom aecounting;

                 prohibiting Defendants Shapiro and R S Trustfrom destroying records.


          This m otion is based on the (yom m ission's Com plaint, supporting m em orandum ,

   declarations and exhibitsthereto.

   Datedz D ecem ber20,2017
                                                 R espectfully subm itted,

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                                                   SeniorTrialCounsel
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